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UNITED STATES DISTRICT COURT {DOCUMENT |
SOUTHERN DISTRICT OF NEW YORK och
we x |DOC#: :
STEVE SANDS, ‘DATE FILED; Bale Diy
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Plaintiff,
-against~ 17-cv-9215 (LAK)

BAUER MEDIA GROUP USA, LLC,

Defendant.

MEMORANDUM AND ORDER

Lewis A. KAPLAN, District Judge.

On September 18, 2019, the Court ordered Mr, Richard Liebowitz, counsel for
plaintiff, to pay defendant’s reasonable attorneys’ fees for making and litigating its motion for
sanctions [DI-56]. Defense counsel submitted its timesheets along with several declarations in
support of its fee petition |DI-65, 80]. These documents asserted that defense counsel billed 116.8
hours at a blended rate of $326.11 per hour —a total of $38,090 — in connection with the sanctions
motion. Plaintiff argues that defense counsel’s hours are excessive and that Mr. Liebowitz should
be required to pay no more than $5,625, or 15 hours at $375 per hour [DI-79].!

The Court has carefully considered the parties’ submissions, in particular defense
counsel’s timesheets. It finds that defense counsel’s hours are unreasonably high relative to the
amount of work one would be expected to perform in prosecuting the sanctions motion. The Court
finds it proper to reduce defense counsel’s hours by 25%, from 116.8 to 87.6. At the rate of $326.11
per hour, this comes to $28,567.50. Mr. Liebowitz is ordered to pay this amount to defense.counsel.

SO ORDERED.
Dated: December 17, 2019 My _
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It is unclear why he argues for a higher rate than defense counsel in fact billed.

 
